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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                     CASE NO. 2:16-cv-14162 -ROSENBERG/MAYNARD

  JAMES P. CROCKER,

  Plaintiff,

  v.

  DEPUTY SHERIFF STEVEN ERIC
  BEATTY, et al.,

  Defendant.


                                          FINAL JUDGMENT

          Pursuant to the jury verdict returned on October 3, 2018, FINAL JUDGMENT is hereby

  entered in favor of Plaintiff, JAMES P. CROCKER and against Defendant, DEPUTY STEVEN

  ERIC BEATTY. It is further

          ORDERED AND ADJUDGED that Plaintiff JAMES P. CROCKER recover from

  Defendant DEPUTY STEVEN ERIC BEATTY, One Thousand Dollars ($1,000.00), with post

  judgment interest at the rate of 2.18%. It is further

          ORDERED AND ADJUDGED that this Court reserves jurisdiction to determine

  entitlement to recover costs and attorney’s fees, and the amount, if any, of such costs and

  attorney’s fees.

          DONE AND ORDERED, in Chambers in West Palm Beach, Florida, this 11th day of

  October, 2018.



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  Copies furnished to Counsel of Record                   ROBIN L. ROSENBERG
                                                          UNITED STATES DISTRICT JUDGE
